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United States District Court for the 6th Circuit
District Of Tennessee RE(;El\/ED

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",LERK U.S. DfSWiCT COURT
W/D OF TN, JACKSON

|saac H. Brooks d/b/a TOTS

 

 

Plain¢iff,

vs. CASE NO. 1 :10-cv-01098

wl I: . !.P ||". l

& Gary Ho|lingsworth

 

Defendant.

NOTICE ()F APPEAL

Notice is hereby given that lsaac H_ Brooks d/b/a TOTS , hereby appeal
(here name all parties taking the appeal)

to the United States Court of Appeals for the Sixth Circuit from an Order Grantinq
(the flnal judgment) (from an

 

Defendants motion to dismiss entered in this action on the 28 day of
order (describing it))
June , 2011 .

 

(s) |saac H. Brooks pro se
Addressr P O. Box 11203

MLM§€§}&M

 

Attorney for oro se appellant

 

cc: Opposing Counsel
Court of Appeals

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